       Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 1 of 10 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                 )
LOIS WHITE                                       )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )
                                                         Case No. 1:23-cv-13956
                                                 )
SOUTHLAND DEVELOPMENT, LLC.
                                                 )
an Indiana limited liability company,
                                                 )
        Defendant.                               )
                                                 )
                                                 )

     PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Lois White, through her undersigned counsel, states the following in support of

her Complaint for Declaratory and Injunctive Relief to remedy discrimination by Defendant

Southland Development, LLC. based on Plaintiff’s disability in violation of Title III of the

Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (“ADA”), and its

implementing regulation, 28 C.F.R. Part 36:

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-3(a), 28

U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.      Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts of

discrimination occurred in this district, and the property that is the subject of this action is in this

district.

                                              PARTIES

        3.      Plaintiff is a resident of Cook County, Illinois.


                                                     1
      Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 2 of 10 PageID #:2




       4.      Defendant Southland Development, LLC. is a limited liability company with its

registered office located at 18421 N. Creek Dr., Tinley Park, IL 60477.

       5.      Upon information and belief, Defendant Southland Development, LLC. owns or

operates “Wingate by Wyndham Tinley Park” whose location qualifies as a “Facility” as defined

in 28 C.F.R. § 36.104.

                                  FACTUAL ALLEGATIONS

       6.      Plaintiff incorporates the above paragraphs by reference.

       7.      Plaintiff is an individual with disabilities, including arthritis of the lumbar spine

and osteoarthritis of the right knee. These conditions cause sudden onsets of severe pain and

substantially limit Plaintiff’s ability to perform certain manual tasks, walk, stand, lift, and bend.

The disabilities and symptoms are permanent.

       8.      Plaintiff suffered from these disabilities during her initial visits (and prior to

instituting this action) to “Wingate by Wyndham Tinley Park.”

       9.      Plaintiff’s disabilities are considered a qualified disability under 28 C.F.R.

36.105.

       10.     Plaintiff’s condition is degenerative and occasionally requires mobility aids to

assist her movement.

       11.     Plaintiff regularly travels to the Tinley Park area to visit friends and shop. Most

recently, Plaintiff was in the Tinley Park area in August 2023. Plaintiff plans to return to the area

in September 2023.

       12.     Plaintiff stays in hotels when she is in the area.




                                                  2
      Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 3 of 10 PageID #:3




       13.     Plaintiff does not always stay in the same hotel, but prefers to shop around for the

best prices, location, and ease of access to accommodate her disabilities.

       14.     Plaintiff regularly experiences barriers to access relating to her disability at hotels

due to her frequent travels.

       15.     While many hotels advertise that they are accessible, Plaintiff still regularly

encounters barriers to access.

       16.     This requires Plaintiff to visit hotels that offer the amenities, pricing, and location

she desires prior to making reservations to ensure that she can access the Facility in a manner

equal to non-disabled individuals.

       17.     Despite advertising that the Wingate by Wyndham Tinley Park is accessible,

Plaintiff encountered barriers to access, which denied her full and equal access and enjoyment of

the services, goods, and amenities when she visited the Tinley Park Facility on March 4, 2023.

       18.     Plaintiff is currently deterred from considering the Facility as a lodging option on

her planned visits due to the barriers and discriminatory effects of Defendant’s policies and

procedures at the Facility.

       19.     Plaintiff is deterred from returning due to the barriers and discriminatory effects

of Defendant’s policies and procedures at the Facility.

       20.     Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the status

of remediation.

                             COUNT I
        REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

       21.     Plaintiff incorporates the above paragraphs by reference.


                                                 3
      Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 4 of 10 PageID #:4




        22.      This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the provisions

of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural barriers at the Facility;

and (4) Plaintiff’s right to be free from discrimination due to her disability. 28 U.S.C. § 2201.

        23.      Plaintiff seeks an order declaring that she was discriminated against on the basis

of her disability.

                                COUNT II
          REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

        24.      Plaintiff incorporates the above paragraphs by reference.

        25.      The Tinley Park Facility is a place of public accommodation covered by Title III

of the ADA because it is operated by a private entity, its operations affect commerce, and it is a

hotel. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.

        26.      Defendant is a public accommodation covered by Title III of the ADA because it

owns, leases (or leases to), or operates a place of public accommodation. See 42 U.S.C. §§

12181(7), 12182(a); 28 C.F.R. § 36.104.

        27.      Architectural barriers exist which deny Plaintiff full and equal access to the goods

and services Defendant offers to non-disabled individuals.

        28.      Plaintiff personally encountered architectural barriers on March 4, 2023 at the

Wingate by Wyndham Tinley Park located at 18421 N. Creek Dr., Tinley Park, IL 60477 that

affected her disabilities.

              a. Women’s Restroom:

                      i. Providing a gate or door with a continuous opening pressure of greater

                             than 5 lbs. exceeding the limits for a person with a disability in violation


                                                     4
Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 5 of 10 PageID #:5




               of sections 404, 404.1, 404.2, 404.2.9 and 309.4 of the Standards, which

               aggravates Plaintiff’s injuries and causes undue strain on her back

               because the door pressure is too heavy.

            ii. Providing a swinging door or gate with improper maneuvering

               clearance(s) due to a wall or some other obstruction that does not

               comply with sections 404, 404.1, 404.2, 404.2.3, 404.2.4 and 404.2.4.1

               of the Standards, which prevents Plaintiff from utilizing the wall for the

               leverage she needs to open the door.

            iii. Providing sinks and/or countertops that are greater than the 34-inch

               maximum allowed above the finished floor or ground in violation of

               sections 606 and 606.3, which causes undue pressure on Plaintiff’s back

               and makes it unsafe for her to use.

            iv. Failing to provide operable parts that are functional or are in the proper

               reach ranges as required for a person with a disability in violation of

               sections 309, 309.1, 309.2, 309.3, 309.4 and 308 of the Standards, which

               prevents Plaintiff from safely grasping the operable part and causes

               strain on Plaintiff’s injuries.

            v. Failing to provide a coat hook within the proper reach ranges for a

               person with a disability in violation of sections 603, 603.4 and 308 of the

               Standards, which causes unnecessary strain on Plaintiff’s back injury to

               use the coat hook.




                                         5
Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 6 of 10 PageID #:6




            vi. Failing to provide flush controls located on the open side of the water

                closet in violation of sections 309, 309.4, 604 and 604.6 of the

                Standards, which requires Plaintiff to reach across the toilet to flush and

                causes an undue strain on her back and legs.

            vii. Failing to provide the water closet in the required proper position

                relative to the side wall or partition in violation of sections 604 and

                604.2 of the Standards, which prevents Plaintiff from using the grab bar

                to get on and off of the toilet because the toilet is not in the proper

                position from the wall.

            viii.    Failing to provide toilet paper dispensers in the proper position in

                front of the water closet or at the correct height above the finished floor

                in violation of sections 604, 604.7 and 309.4 of the Standards, which

                causes Plaintiff difficulty reaching the toilet paper dispenser and

                aggravates Plaintiff’s back injury.

            ix. Providing grab bars of improper horizontal length or spacing as required

                along the side wall in violation of sections 604, 604.5, 604.5.1 and

                604.5.2 of the Standards, which prevents Plaintiff from using the grab

                bars for the assistance she needs getting onto and off of the toilet due to

                her back and knee injuries.

            x. Failing to provide the required clear floor space around a water closet

                without any obstructing or non-essential convenience elements or

                fixtures placed in this space in violation of sections 4.22.3, 603, 603.2.3,



                                          6
Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 7 of 10 PageID #:7




                604, 604.3, 604.3.1, 604.3.2 and 604.8, 604.8.1.1 of the Standards,

                which makes it unsafe for Plaintiff to maneuver in the water closet due

                to her back and leg injuries.

            xi. Failing to provide the correct height for a table surface or for a baby

                changing table, in violation of sections 902, 902.1, 902.2, 902.3, and/or

                §4.32.4 of the 1991 ADA Standards, which aggravates Plaintiff’s back

                and knee injuries when trying to use the baby changing table.

            xii. Failing to provide a paper towel dispenser or its operable part at the

                correct height above the finished floor in violation of sections 606, 606.1

                and 308 of the Standards, which aggravates Plaintiff’s back injury.

            xiii.    Providing an element or object that protrudes greater than 4” into a

                pathway or space of travel situated between 27” and 80” high in

                violation of sections 204, 307, 307.1, 307.2 of the Standards, which

                prevents Plaintiff from safely maneuvering in restroom and causes

                undue strain on her injuries.

    b. Passenger Loading Zone:

            i. Failing to provide a passenger loading zone with an access aisle marked

                with striping in violation of sections 209, 209.1, 209.4, 503, 503.1, 503.3

                and 503.3.3 of the Standards, which requires Plaintiff to park her vehicle

                further than necessary from the Facility and walk an excessive distance,

                thereby causing pain in her back and knee.




                                        7
      Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 8 of 10 PageID #:8




              c. Seating:

                      i. Failing to provide seating for a person(s) with a disability that has the

                            correct clear floor space for forward approach in violation of sections

                            902, 902.2, 305 and 306 of the Standards, which aggravates Plaintiff’s

                            knee and back injuries by preventing her from extending her legs

                            without obstruction while being able to utilize the table surface.

                      ii. Failing to provide a sufficient amount of seating when dining surfaces

                            are provided for the consumption of food or drink for a person(s) with a

                            disability in violation of sections 226, 226.1, 902, 305 and 306 of the

                            Standards, which requires Plaintiff to utilize seating that is unsafe and

                            painful for her to use due to her knee and back injuries.

        29.      These barriers cause Plaintiff difficulty in safely using each element of the

Facility because of Plaintiff’s impaired mobility and limited range of motion in her legs and back

requiring extra care due to concerns for safety and a fear of aggravating her injuries.

        30.      Defendant has failed to remove some or all of the barriers and violations at the

Facility.

        31.      Defendant’s failure to remove these architectural barriers denies Plaintiff full and

equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

        32.      Defendant’s failure to modify its policies, practices, or procedures to train its staff

to identify architectural barriers and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most integrated setting

possible is discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.



                                                    8
      Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 9 of 10 PageID #:9




        33.    It would be readily achievable for Defendant to remove all of the barriers at the

Facility.

        34.    Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv),

and 28 C.F.R. § 36.304.

                                    RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

        A.     declare that the Facility identified in this Complaint is in violation of the ADA;

        B.     declare that the Facility identified in this Complaint is in violation of the 2010

ADA Standards for Accessible Design;

        C.     enter an Order requiring Defendant make the Facility accessible to and usable by

individuals with disabilities to the full extent required by Title III of the ADA and the 2010 ADA

Standards for Accessible Design;

        D.     enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;

        E.     award Plaintiff attorney fees, costs (including, but not limited to court costs and

expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205; and

        F.     grant any other such relief as the Court deems just and proper.




                                                 9
    Case: 1:23-cv-13956 Document #: 1 Filed: 09/20/23 Page 10 of 10 PageID #:10




                                              Respectfully submitted,

                                              CASS LAW GROUP, P.C.

                                             /s/ Angela C. Spears
                                             Angela C. Spears (IL Bar #: 6327770)
                                             CASS LAW GROUP, P.C.
                                             20015 S. LaGrange Rd #1098
                                             Frankfort, IL 60423
                                             T: (833) 343-6743
                                             F: (855) 744-4419
                                             E: aspears@casslawgroup.com
                                             Counsel for Plaintiff

Dated: September 20, 2023




                                        10
